                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                    EL PASO DIVISION

 UNITED STATES OF AMERICA,                         §
                                                   §
                 Plaintiff,                        §
 v.                                                §                EP-21-CV-00299-DCG
                                                   §
 STATE OF TEXAS and JOHN SCOTT,                    §
 in his official capacity as Texas Secretary of    §
 State,                                            §
                                                   §
                 Defendants.                       §

                               ORDER REQUIRING BRIEFING

       On December 6, 2021, the United States filed a Complaint (ECF No. 1) challenging two

of Texas’s 2021 redistricting plans: its Congressional Plan and House Plan. The United States

asserts that these redistricting plans violate Section 2 of the Voting Rights Act, 52 U.S.C. §

10301. On the same day, the United States filed a “Motion to Consolidate” (ECF No. 4), in

which the United States seeks consolidation of this case into LULAC v. Abbott, No. 3:21-CV-

00259. Defendants do not oppose the motion; nor do the plaintiffs in LULAC and the

consolidated cases.

       LULAC is before a three-judge court, which means the United States is asking this Court

to consolidate a case that is before a single district judge into a three-judge case. But the record

does not reflect any request by the United States for a three-judge court to be convened under 28

U.S.C. § 2284. Furthermore, the United States does not cite any authority that stands for the

proposition that a single-judge case may be consolidated into a three-judge case in the absence of

a request under 28 U.S.C. § 2284.

       Accordingly, IT IS ORDERED that the United States SHALL FILE, by December 8,

2021, a brief that addresses the issues identified in this Order.


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       IT IS FURTHER ORDERED that Defendants MAY FILE a response to the brief filed

by the United States pursuant to this Order not later than two (2) days after the United States

serves its briefing on Defendants.

       So ORDERED and SIGNED this 6th day of December 2021.



                                                 ____________________________________
                                                 DAVID C. GUADERRAMA
                                                 UNITED STATES DISTRICT JUDGE




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